Case 24-50512-grs Doc3_ Filed 04/29/24 Entered 04/29/24 22:22:44 Desc Main
Document Page1of4

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF KENTUCKY
LEXINGTON DIVISION

IN RE: Case No.

DONALD ANTHONY FITZPATRICK Chapter 11, Sub Chapter V
ASHLEY LOUISE FITZPATRICK

Debtors

NOTICE OF COMPLETION OF CREDIT COUNSELING

COME the Debtors, Donald Anthony Fitzpatrick and Ashley Louise Fitzpatrick, by
and through Counsel, and hereby provide Notice to the Court and Creditors in this Estate
of their completion of Credit Counseling.

Attached hereto as Exhibits A and B are the Certificate Of Counseling Education
for Donald Anthony Fitzpatrick and the Certificate Of Counseling Education for Ashley
Louise Fitzpatrick showing completion of these courses on April 29, 2024.

HAMILTON LAW OFFICES, PLLC

By: LZ LbrZF>
en Hamiftén, KBA #28127
P.O. Box 240
Lexington, Kentucky 40588

Phone: (859) 523-7010

Cell: (859) 948-0078

Email: jhamilton@hamiltonlawky.com
Counsel for Debtors

Case 24-50512-grs Doc3_ Filed 04/29/24 Entered 04/29/24 22:22:44 Desc Main
Document Page 2of4

CERTIFICATE OF SERVICE

| hereby certify that a true copy of the foregoing Notice was this day served by
service on the Court’s Electronic Service List to the following:

U.S. Trustee’s Office

on this the ZY day of Ape! , 2024

( =F Hamilton

Case 24-50512-grs Doc3_ Filed 04/29/24 Entered 04/29/24 22:22:44 Desc Main
Document Page 3of4

Certificate Number: 03621-K YE-CC-038424183

03621-K YE-CC-038424183

CERTIFICATE OF COUNSELING

I CERTIFY that on April 29, 2024, at 9:14 o'clock AM EDT, Donald A
Fitzpatrick received from Credit Card Management Services, Inc. d/b/a
Debthelper.com, an agency approved pursuant to 11 U.S.C. 111 to provide credit
counseling in the Eastern District of Kentucky, an individual [or group] briefing
that complied with the provisions of 11 U.S.C. 109(h) and 111.

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet.

Date: April 29, 2024 By: /s/Ashley Bradley

Name: Ashley Bradley

Title: Credit Counselor

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).

Exhibit 4_

Case 24-50512-grs Doc3_ Filed 04/29/24 Entered 04/29/24 22:22:44 Desc Main
Document Page4of4

Certificate Number: 03621-K YE-CC-038424181

03621-KYE-CC-038424181

CERTIFICATE OF COUNSELING

I CERTIFY that on April 29, 2024, at 9:14 o'clock AM EDT, Ashley L
Fitzpatrick received from Credit Card Management Services, Inc. d/b/a
Debthelper.com, an agency approved pursuant to 11 U.S.C. 111 to provide credit
counseling in the Eastern District of Kentucky, an individual [or group] briefing
that complied with the provisions of 11 U.S.C. 109(h) and 111.

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet.

Date: April 29, 2024 By: /s/Ashley Bradley

Name: Ashley Bradley

Title: Credit Counselor

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).

Exhibit GQ

